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                   9                             UNITED STATES DISTRICT COURT
                  10                         CENTRAL DISTRICT OF CALIFORNIA
                  11                                  EASTERN DIVISION
                  12 CARTER BRYANT, an individual,                CASE NO. CV 04-09049 SGL (RNBx)
                  13                Plaintiff,                    Consolidated with Case Nos. CV 04-
                                                                  9059 and CV 05-2727
                  14        vs.
                                                                  Hon. Stephen G. Larson
                  15 MATTEL, INC., a Delaware
                     corporation,                                 MATTEL, INC.'S RESPONSE TO
                  16                                              CARLOS MACHADO GOMEZ'S EX
                                  Defendant.                      PARTE APPLICATION FOR
                  17                                              CLARIFICATION OF THE COURT'S
                                                                  JANUARY 7, 2008 ORDER
                  18 AND CONSOLIDATED ACTIONS
                  19
                  20                                              PHASE 1:
                                                                  Discovery Cut-off: January 28, 2008
                  21                                              Pre-Trial Conference: May 5, 2008
                                                                  Trial Date: May 27, 2008
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                                  MATTEL, INC.'S RESPONSE TO MACHADO'S EX PARTE APPLICATION FOR CLARIFICATION
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                   1                                 Preliminary Statement
                   2         Defendant Carlos Gustavo Machado Gomez ("Machado") contends that the
                   3 Court's January 7, 2008 Order permitting and requiring certain discovery conflicts with
                   4 the Court's October 31, 2007 Order with respect to the schedule and deadlines for Phase
                   5 2 discovery. His contention misreads the Orders and, although he does not disclose
                   6 this, is an effort to justify his continuing refusals to sit for deposition as the Court has
                   7 required.
                   8         In alleging there is a seeming conflict between the Orders, Machado construes
                   9 the January 7 Order as potentially setting a Phase 2 discovery cutoff date. The January
                  10 7 Order does not set any discovery cut-off date for Phase 2. It thus in no way conflicts
                  11 with the October 31 Order vacating Phase 2 dates. Rather, the January 7 Order clearly
                  12 and simply requires that "[a]ll of the depositions permitted by this Order" -- which
                  13 includes Machado -- occur before January 28, 2008, unless a Court-approved
                  14 stipulation allows them to be completed by February 29, 2008. Indeed, the only party
                  15 who has professed confusion about the January 7 is Machado. Neither Mattel nor
                  16 MGA understands the January 7, 2008 Order to set a Phase 2 discovery cut-off date.
                  17         Machado's suggestions that the Court's Orders are unclear or in conflict are not
                  18 only without merit, but are advanced for tactical purposes. Mattel has been seeking
                  19 Machado's deposition since June 2007. He first promised to appear, then delayed by
                  20 using the changes in counsel on the defense side as his excuse and then, after further
                  21 delay, refused to be deposed. Mattel brought a motion to compel. After the motion
                  22 was filed, Machado agreed to appear for deposition on January 15, 2008. On the
                  23 weekend before the deposition, however, Machado and MGA unilaterally cancelled it.
                  24 Machado also did so less than a day after he had attempted to use his deposition as an
                  25 excuse to delay the scheduled hearing before Judge Infante on the motion to compel.
                  26 Flying in the face of this Court's January 7 Order requiring his deposition be completed
                  27 by January 28 unless there is a Court-approved stipulation otherwise, Machado now
                  28 takes the position that he need not appear at all until after Phase 1 trial. Meanwhile,
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                   1 Machado also sent an email to this Court -- in violation of the Local Rules and this
                   2 Court's directives -- professing lack of clarity in the January 7 Order, in an apparent
                   3 further quest to avoid having to appear for his deposition by the end of this month as
                   4 required by the January 7 Order. Machado's machinations should be rejected.
                   5          Mattel also respectfully suggests that Machado's ex parte is not an appropriate
                   6 vehicle for limiting or delaying Phase 2 discovery. The Court has repeatedly rejected in
                   7 the past MGA's and the other defendants' requests to stay or bifurcate discovery
                   8 because it would complicate and delay discovery in this case yet more. There is no
                   9 question that there is considerable Phase 2 work to be done, both on MGA's claims for
                  10 which it seeks "billions" of dollars from Mattel and on Mattel's Phase 2 claims. It
                  11 would be unjust and would potentially prejudice Mattel's ability to obtain the discovery
                  12 it needs to prosecute its Phase 2 claims and defend against MGA's claims if defendants
                  13 were allowed to delay yet more, which would only add to the well-documented
                  14 obstructionism Mattel already faces in attempting to obtain even basic discovery from
                  15 defendants.1 Indeed, Machado's recent (and still glaringly deficient) preservation
                  16 affidavit only serves to underscore Mattel's need to depose Machado so that it can
                  17 pursue from third parties evidence that Machado is not keeping.
                  18                                        Argument
                  19 I.       THE JANUARY 7 ORDER DOES NOT CONFLICT WITH THE
                  20          OCTOBER 31 ORDER
                  21          On October 31, 2007, the Court issued the Order Regarding Status Conference
                  22 (the "October 31 Order").2 Pursuant to that Order, the Court, inter alia, (1) set the
                  23 Phase 1 schedule, including a discovery cut-off of January 28, 2008; (2) vacated the
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                          1
                           To cite only one of many potential examples, like Isaac Larian before it,
                  25
                     MGAE de Mexico refuses to produce a single page of documents.
                        2
                  26       See Order Regarding Status Conference, dated October 31, 2007 ("October 31,
                  27 2007 Order") at 2, attached as Exhibit 1 to the Declaration of B. Dylan Proctor
                     ("Proctor Dec."), filed concurrently herewith.
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                   1 schedule for Phase 2 that it had previously set; (3) stated that it “will consider the
                   2 scheduling of Phase 2 at a later date"; and (4) “denie[d] MGA's request to delay or
                   3 otherwise bifurcate discovery regarding Phase 2 issues."3
                   4          The Court’s ruling was clear. The Phase 1 discovery cut-off is January 28,
                   5 2008. All Phase 2 deadlines—including discovery cut-off—were vacated, which the
                   6 Court said it “will consider” “at a later date.” In rejecting MGA’s request to bifurcate
                   7 Phase 1 and Phase 2 discovery, the Court also made evident that all discovery was to
                   8 proceed without “delay.”
                   9          Nor is there any lack of clarity in the January 7 Order or any inconsistency
                  10 between the October 31 and January 7 Orders. On January 7, 2008, the Court granted
                  11 in part Mattel's motion for leave to take additional discovery (the "January 7 Order").
                  12 Pursuant to that Order, Mattel may conduct additional written discovery and conduct
                  13 additional depositions.4 Specifically, the Order permits Mattel to take the depositions
                  14 of individuals, many of whom entirely or in part have knowledge of facts relating to
                  15 MGA's unfair competition claims and Mattel's trade secret and RICO claims at issue in
                  16 Phase 2.5 One of these individuals is Machado.6 The Order further permits Mattel to
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                          3
                  18          See id.
                          4
                              See Order Granting In Part and Denying In Part Mattel's Motion for Leave to
                  19
                       Take Additional Discovery (Docket #1504), dated January 7, 2008, attached as Ex.
                  20   2 to the Proctor Dec. The January 7 Order was amended on January 10, 2008 to
                       correctly note that Mattel's motion seeking clarification regarding the Court's Order
                  21
                       appointing the Discovery Master was granted. See Order Amending Court's Minute
                  22   of January 7, 2008 (In Chambers) (Docket # 1508), dated January 10, 2008, attached
                       as Ex. 3 to Proctor Dec.
                  23       5
                              See January 7, 2008 Order at 3, Proctor Dec., Ex. 2; see also Mattel's
                  24   Memorandum of Points and Authorities in support of its Motion for Leave to Take
                       Additional Discovery and Objections to Discovery Master Order of September 28,
                  25
                       2007, filed November 19, 2007 (the "Motion"), at 9-11, attached as Ex. 4 to Proctor
                  26   Dec.
                           6
                  27          See January 7, 2008 Order at 3, Proctor Dec., Ex. 2; see Mot. at 13, Proctor
                       Dec., Ex. 4.
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                   1 take Rule 30(b)(6) depositions of defendants MGAE de Mexico, S.R.L. de C.V. and
                   2 MGA Entertainment, Inc.7 Lastly, the January 7 Order permits Carter Bryant and MGA
                   3 to depose 10 current or former Mattel employees identified in their ex parte application
                   4 to compel depositions.8
                   5           By its plain terms, the January 7 Order does not set Phase 2 dates. It is silent on
                   6 the point. Rather, the January 7 Order simply compels the parties to hold “[a]ll
                   7 depositions permitted by this Order" before January 28, 2008, unless a Court-approved
                   8 stipulation allows them to be completed by February 29, 2008.9 Although Machado
                   9 states that the language of the January 7 Order “appears” to set January 28, 2008 as the
                  10 discovery cut-off for all Phase 2 discovery, it does not.10 The Order merely sets dates
                  11 certain for the completion of the additional depositions authorized by the Order.
                  12 Setting dates certain for particular discovery is distinctly different than setting a
                  13 discovery cut-off date for all discovery.
                  14           The October 31 Order set the Phase 1 schedule (including the discovery cut-off
                  15 of January 28, 2008) and vacated the Phase 2 schedule (including a previously set
                  16 discovery cut-off). The Order also rejected MGA’s request to delay and bifurcate
                  17 Phase 1 and Phase 2 discovery entirely. The January 7 Order reaffirms the Phase 1
                  18 discovery cut-off of January 28, 2008, is silent as to the Phase 2 discovery cut-off, and
                  19 sets dates certain to complete additional depositions relating to Phase 1 and Phase 2
                  20 issues. The Orders simply do not conflict.
                  21 II.       THERE IS NO BASIS FOR MACHADO'S SUGGESTION THAT
                  22           PHASE 2 DISCOVERY BE DELAYED FURTHER
                  23           Machado states that “in reliance on the language of the October 31, 2007 Order,”
                  24 he has been “holding in abeyance” all the Phase 2 discovery he intends to conduct
                  25       7
                               See id. at Ex. A-B; see also January 7, 2008 Order at 3, Proctor Dec., Ex. 2.
                  26       8
                               See id. at 5.
                           9
                  27           Id. at 3.

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                   1 “until Phase 1 discovery concludes."11 His claim is not only inconsistent with his and
                   2 MGA's prior positions, but misreads the Court’s Order. The Court in the October 31
                   3 Order expressly rejected MGA’s request to “delay or otherwise bifurcate discovery
                   4 regarding Phase 2 issues.” Instead, the Court ordered discovery to proceed, and Mattel
                   5 -- as well as MGA -- have propounded and been pursuing Phase 2 discovery. There is
                   6 no basis for Machado to have concluded that the October 31 Order permits any party to
                   7 “delay” conducting all Phase 2 discovery.
                   8           Nevertheless, it is undisputed that a significant amount of Phase 2 discovery
                   9 remains to be completed, largely because of Machado's and the other defendants'
                  10 delays. For example, after long evading service, Machado was served with process on
                  11 March 26, 2007.12 Mattel began seeking deposition dates from Machado on June 4,
                  12 2007.13 On September 3, 2007, Machado’s former counsel confirmed that October 26,
                  13 2007 was an “acceptable date” for Machado’s deposition, which the parties agreed
                  14 would occur in Los Angeles.14 The next day Mattel served a deposition notice that
                  15 confirmed the parties agreement.15 Counsel for MGA and Bryant also agreed to the
                  16 October 26, 2007 deposition.16
                  17           Then, three weeks before the deposition, Machado’s new counsel flatly refused
                  18 to make Machado available.17 Mattel filed a motion to compel on November 16, 2007.
                  19 On December 6, 2007, Machado’s counsel represented that Machado would appear for
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                          10
                              Machado Br. at 2.
                  21      11
                             Machado Br. at 1.
                          12
                  22          Proctor Dec. at ¶ 2.
                          13
                              See Mattel's Motion to Compel: (1) Deposition of Carlos Gustavo Machado
                  23
                       Gomez; and (2) Consent to Production of Electronic Mail Messages, filed
                  24   November 16, 2007, at 4 (Docket # 1122) (“Mattel’s Motion to Compel"), attached
                       as Ex. 5 to Proctor Dec.
                  25      14
                             See id.
                          15
                  26         Id.
                          16
                  27         See id.
                          17
                             See Mattel’s Motion to Compel at 4, Proctor Dec., Ex. 5.
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                   1 deposition on January 15, 2008 in Mexico City, a location Mattel had proposed as an
                   2 accommodation to him and to avoid further delays.18 On December 24, 2007, Mattel
                   3 served an amended notice of deposition for Mr. Machado on all parties.
                   4           The Discovery Master subsequently set the hearing on Mattel's motion to compel
                   5 for January 16, 2008. On January 11, 2008, Machado’s counsel contacted Mattel’s
                   6 counsel and requested that Mattel agree to continue the scheduled hearing. In seeking
                   7 to continue the hearing, Machado's counsel represented to Mattel—and then to the
                   8 Discovery Master in an email—that he would not be able to participate in the scheduled
                   9 January 16, 2008 hearing because he would be on a flight returning from Machado's
                  10 deposition. As a professional courtesy based on that representation that Machado's
                  11 deposition was going forward, Mattel agreed to continue the hearing to February 8,
                  12 2008, the Discovery Master's next hearing date.
                  13           Less than a day later, defendants unilaterally cancelled the deposition. Mattel
                  14 therefore withdrew its consent to the continuance of the January 16 hearing before the
                  15 Discovery Master.19 That same day, Machado and MGA filed their responses to
                  16 Mattel’s notice of withdrawal.20 Their responses revealed for the first time that MGA
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                          18
                  18          The facts concerning the recent events pertaining to Mattel’s Motion to
                       Compel are set forth in the Second Supplemental Declaration of Jon Corey in
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                       support of Mattel’s Motion to Compel, filed January 14, 2008 (Docket # 1527)
                  20   (“Second Supp. Corey Dec.”), attached as Ex. 6 to the Proctor Dec., and the Third
                       Supplemental Declaration of Jon Corey in support of Mattel’s Motion to Compel,
                  21
                       filed January 16, 2008 (Docket # 1542) (“Third Supp. Corey Dec.”), attached as Ex.
                  22   7 to the Proctor Dec.
                           19
                               See Second Supp. Corey Dec., Proctor Dec., Ex. 6.
                  23       20
                               See Declaration of MGA Entertainment, Inc.’s Response to Mattel, Inc.’s (1)
                  24   Notice of Withdrawal of Consent to Continuance of Motion to Compel Deposition
                       of Machado and (2) Request that Motion to Compel Remain on Calendar for
                  25
                       January 16, 2008, filed January 14, 2008 (Docket # 1530); Carlos Gustavo Gomez
                  26   Machado’s Supplemental Memorandum of Points and Authorities in Opposition to
                  27   Mattel’s Motion to Compel (1) Deposition of Machado [and] (2) Consent to
                       Production of Electronic Messages, dated January 14, 2008 (Docket # 1528).
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                   1 and Machado had known for weeks of MGA’s counsel’s purported scheduling conflict
                   2 on January 15, 2008. But neither Machado nor MGA notified Mattel of that purported
                   3 conflict until January 11 and 12, 2008, respectively.21
                   4           Moreover, evidence has now emerged that there was no basis for Machado's past
                   5 excuses for why he could not appear for deposition in the United States -- because, he
                   6 claimed, he is subject to travel restrictions since he is being prosecuted for theft of
                   7 Mattel's trade secrets in Mexico. Two days ago, on January 15, 2008, Mattel learned
                   8 that Machado had sought on December 5, 2007, and was granted that same day, leave
                   9 by the court in Mexico to travel to the United States to attend MGA marketing
                  10 meetings. Remarkably, December 5, 2007 was the day before Machado's counsel first
                  11 offered to produce Machado for deposition in Mexico City based on his alleged travel
                  12 restrictions. Machado traveled to the United States on December 5, 2007 and remained
                  13 in the United States until December 13, 2007.22 Nevertheless, neither he nor MGA
                  14 provided him for deposition in this case.
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                               See id. Machado is only the latest of defendants' witnesses to follow this
                  23
                       now-familiar pattern. As the Court is aware, virtually every witness for defendants
                  24   -- including Carter Bryant, Isaac Larian and all of MGA's key officers and
                       employees on Bratz -- considerably delayed their depositions by promising to
                  25
                       appear, only to then cancel at the last minute with flat refusals to appear. As a
                  26   result, each of these witnesses has required Court Orders -- often multiple Court
                  27   Orders -- before testifying.
                           22
                               See Third Supp. Corey Dec., Proctor Dec., Ex. 7.
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                   1        It is precisely because of gamesmanship such as this that substantial Phase 2
                   2 discovery remains to be conducted in this case. And, Mattel believes it is precisely to
                   3 avoid still further delays that the Court set dates certain to complete the additional
                   4 depositions authorized in its recent Order. Machado should not be allowed any
                   5 opportunity to further delay and avoid this Court's mandate that he appear for
                   6 deposition by January 28 absent a Court-approved stipulation.
                   7
                   8 DATED: January 17, 2008              QUINN EMANUEL URQUHART OLIVER &
                                                          HEDGES, LLP
                   9
                  10
                                                           By /s/ B. Dylan Proctor
                  11                                         B. Dylan Proctor
                                                             Attorneys for Plaintiff
                  12                                         Mattel, Inc.

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